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IN THE UNITED sTATES DIsTRiCT coURT F“-§D fit @_C_
FoR THE WESTERN DISTRICT oF TENNESSEE

 

ROBERT DAVIS,
IUANDELLA CRUZ,
FRANKLIN FERGUSON
WAYNE BOSTIC,

JOHNNY RAY PARR
KENNETH BERNARD CULP,
JOHNNY L. PHILLIPS,
SAMUEL ANDREW LEMAR, and
MARCUS FLOYD,

acting on their behalf and

on behalf of others similarly
situated,

 

Plaintiffs,
vs. No. 93-2004 ML/BRE

TED SUTTON, in his personal

capacity and in his official

capacity as Sheriff of

Lauderdale County; and

H. GWINN MATTHEWS, in his personal
capacity and in his official

capacity as County Executive

for Lauderdale County, and

TI-IE LAUDERDALE COUNTY BOARD
OF COMMISSIONERS,

Defendants.

 

CONSENT ORDER AWARDING INTERIM
A'I`TORNEYS FEES AND EXPENSES

 

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IT APPEARING TO THE COURT, that Plaintiffs are entitled to an award of attorney ~ ee$
and expenses, arising out of their successful prosecution of a “Petition for Contempt” against

Defendant Lauderdale County.

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IT FURTHER APPEARING TO THE COURT, that the parties have agreed to an
interim attorney fee award of $110,812.78, and expense award of $37,343.93 (total award
$148,156.71) for work performed in the case through April 30, 2005 .

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED BY CONSENT,
that Defendant, Lauderdale County, shall pay to Glankler Brown, PLLC, the amount of
$148,156.71 for which execution may issue if necessary; for interim attorneys fees and expenses
to which PlaintifPs counsel is entitled through April 30, 2005. Nothing in this order shall
preclude Plaintist counsel from seeking additional fees and expenses, for Work in this case on

or after May ], 2005.

lt is so ordered by consent 9 ,_ (/i:Q/Li
/0»~ » - ill 1 ' a

HE ONORABLE JON PHIPPS McCALLA
UNI ED STATES DISTRICT COURT JUDGE

 

WE CONSENT:

,%»41,1. M

Robea L. Humm‘

Attorney for Plaintiffs

1700 One Comrnerce Square
Memphis, Tennessee 38103

Thomas Caldwell

Attorney for Lauderdale County
114 Jefferson Street

Ripley, TN 38063

l":\CLlENTS\]_.AUDERDALE COUNTY JAiL INMATES (062]0)\PLEADING\CONSENT ORDER AWARDING fNTERlM ATTORNEYS
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Notice of Distribution

This notice confirms a copy of the document docketed as number 200 in
case 2:93-CV-02004 was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listedl

 

 

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l\/lemphis7 TN 38103

J. Thomas Caldwell
CALDWELL & FITZHUGH
114 Jefferson Street

Ripley7 TN 38063

Honorable J on l\/lcCalla
US DISTRICT COURT

